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AO 245B-CAED(Rev. 11/2016) Sheet 1 - Judgment in a Criminal Case



                            UNITED STATES DISTRICT COURT
                                               Eastern District of California
               UNITED STATES OF AMERICA                                 JUDGMENT IN A CRIMINAL CASE
                          v.                                            Case Number: 6:18MJ00006-002
              ALEXANDER PAUL SCHAIBLY                                   Defendant's Attorney: Carol Moses, Appointed

THE DEFENDANT:
     pleaded guilty to count(s) 1 of the Complaint.
     pleaded nolo contendere to count(s)      , which was accepted by the court.
     was found guilty on count(s)     after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
                                                                                                           Date Offense     Count
Title & Section                       Nature Of Offense
                                                                                                           Concluded        Number
36 CFR § 2.35(b)(2)                   Possess a controlled substance (marijuana)                           1/15/2018        1

       The defendant is sentenced as provided in pages 2 through 3 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

     The defendant has been found not guilty on count(s)      .
     Count(s)      dismissed on the motion of the United States.
     Indictment is to be dismissed by District Court on motion of the United States.
     Appeal rights given.                      Appeal rights waived.

        It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution or fine, the defendant must notify the court and United States attorney of material changes in economic
circumstances.
                                                                       7/10/2018
                                                                       Date of Imposition of Judgment
                                                                       /s/ Jeremy D. Peterson
                                                                       Signature of Judicial Officer
                                                                       Jeremy D. Peterson, United States Magistrate Judge
                                                                       Name & Title of Judicial Officer
                                                                       7/31/2018
                                                                       Date
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AO 245B-CAED(Rev. 11/2016) Sheet 4 - Misdemeanor Probation
DEFENDANT:ALEXANDER PAUL SCHAIBLY                                                                                                Page 2 of 3
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                                                             PROBATION
The defendant is hereby sentenced to probation for a term of: 24 months .

If this judgment imposes a fine, special assessment, processing fee or restitution, it is a condition of probation that Defendant pay in
accordance with the Schedule of Payments sheet of this judgment.

While on probation, the defendant shall be subject to and must comply with the following conditions of probation:

                                                 CONDITIONS OF PROBATION
1.    The defendant's probation shall be unsupervised by the probation office.
2.    The defendant is ordered to obey all federal, state, and local laws.
3.    The defendant shall notify the court and, if represented by Counsel, your counsel of any change of address and contact number.
4.    The defendant shall advise the court and the government officer within seven days of being cited or arrested for any alleged
      violation of law. If represented, the defendant shall provide such notice through counsel.
5.    The defendant shall notify the court and the government officer within seven days of any change in defendant's economic
      circumstances that might prevent the defendant from making all payments required in this order.
6.    The defendant shall pay a fine of $490.00 and a special assessment of $10.00 for a total financial obligation of $500.00, which
      the defendant shall pay at the rate of $25.00 per month commencing on or before August 10, 2018. After the initial payment, the
      defendant shall make monthly payments on or before the tenth of the month each month until the defendant's obligation is paid
      in full. Payments shall be made payable to the Clerk, U.S.D.C., and mailed to:

      Clerk, U.S.D.C.
      2500 Tulare Street, Rm 1501
      Fresno, CA 93721
7.    The defendant shall personally appear for a Probation Review Hearing on July 10, 2019, and May 5, 2020, at 10:00 a.m., before
      U.S. Magistrate Judge Peterson. Once the defendant completes the terms of probation, he may request that the Probation Review
      Hearing be vacated, and that his term of probation be immediately terminated. If represented, the defendant shall make any such
      request through counsel.
8.    The defendant shall complete 150 hours of community service. The defendant shall perform and complete the community
      service hours by April 10, 2020.
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AO 245B-CAED(Rev. 11/2016) Sheet 6 - Schedule of Payments
DEFENDANT:ALEXANDER PAUL SCHAIBLY                                                                                                 Page 3 of 3
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                                                       SCHEDULE OF PAYMENTS
        Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A.               Lump sum payment of $               due immediately, balance due
                          Not later than      , or
                          in accordance               C,        D,        E,or           F below; or
B.               Payment to begin immediately (may be combined with                 C,           D,    or   F below); or

C.               Payment in equal monthly installments of $25.00 due on the 10th of each month   over a period of
                  10 months to commence on or before August 10, 2018. (e.g. 30 or 60 days) after the date of this judgment; or

D.               Payment in equal    (e.g. weekly, monthly, quarterly) installments of $    over a period of      (e.g. months or
                 years), to commence     (e.g. 30 or 60 days) after release from imprisonment to a term of supervision; or

E.               Payment during the term of supervised release/probation will commence within      (e.g. 30 or 60 days) after release
                 from imprisonment. The court will set the payment plan based on an assessment of the defendants ability to pay at
                 that time; or

F.               Special instructions regarding the payment of criminal monetary penalties:
                    Payments must be made by Check or Money Order, payable to: Clerk, U.S.D.C. and mailed to:
                       CLERK U.S.D.C.
                       2500 Tulare Street, Rm 1501
                       Fresno, CA 93721
                 Your check or money order must indicate your name and citation/case number shown above to ensure your account
                 is credited for payment received.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

         Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate:

         The defendant shall pay the cost of prosecution.

         The defendant shall pay the following court cost(s):

         The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court
costs.
